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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

IN RE:
RODNEY ALLEN
DEBTOR

CASE NO. 14-44099-mxm13
CHAPTER 13

o A HEARING ON THIS MOTION

DEUTSCHE BANK TRUST COMPANY HAS BEEN SET FOR:
AMERICAS, AS TRUSTEE FOR RESIDENTIAL
ACCREDIT LOANS, INC., MORTGAGE ASSET-
BACKED PASS-THROUGH CERTIFICATES,
SERIES 2006-QS7, ITS SUCCESSORS AND
ASSIGNS

MOVANT

MARCH 8, 2018
9:30 AM

VS.
RODNEY ALLEN, DEBTOR AND TIM TRUMAN,
TRUSTEE

COR WO? YOR OR COR OR OR GOR COD SOR KOR COR KID OR OO CO? KO?

RESPONDENTS

MOTION FOR RELIEF FROM AUTOMATIC STAY
AS TO 1844 SOUTHPARK DR, ARLINGTON, TX 76013

PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(B), A RESPONSE IS REQUIRED TO
THIS MOTION, OR THE ALLEGATIONS IN THE MOTION MAY BE DEEMED ADMITTED,
AND AN ORDER GRANTING THE RELIEF SOUGHT MAY BE ENTERED BY DEFAULT.

ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE UNITED
STATES BANKRUPTCY COURT AT THE ELDON B. MAHON U.S. COURTHOUSE, 501 W.
TENTH STREET, FORT WORTH, TX 76102-3643, BEFORE CLOSE OF BUSINESS ON

MARCH 6, 2018, WHICH IS AT LEAST 14 DAYS FROM THE DATE OF SERVICE HEREOF.*

A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY AND ANY

TRUSTEE OR EXAMINER APPOINTED IN THE CASE. ANY RESPONSE SHALL INCLUDE

A DETAILED AND COMPREHENSIVE STATEMENT AS TO HOW THE MOVANT CAN BE

“ADEQUATELY PROTECTED” IF THE STAY IS TO BE CONTINUED.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

DEUTSCHE BANK TRUST COMPANY AMERICAS, AS TRUSTEE FOR RESIDENTIAL
ACCREDIT LOANS, INC., MORTGAGE ASSET-BACKED PASS-THROUGH CERTIFICATES, SERIES
2006-QS7, ITS SUCCESSORS AND ASSIGNS (hereinafter Movant), secured creditor and party in interest to the
above-styled proceeding files this Motion for Relief from Automatic Stay . In support of its Motion, Movant

respectfully shows:
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I. JURISDICTION
1. This Court has jurisdiction of this matter pursuant to 28 U.S.C. §1334 and 11 U.S.C. §§105 and 362.
2. This is a core proceeding under 28 U.S.C. §157(b)2)(G).
I. FACTS

3. On or about October 7, 2014, RODNEY ALLEN (hereinafter Debtor) filed a Voluntary Petition for
relief under Chapter 13 of the Bankruptcy Code, thereby initiating the above-styled Bankruptcy Case. TIM
TRUMAN is the duly appointed and acting Trustee.

4, On May 24, 2006, RODNEY ALLEN, executed that certain Note (“Note”) in the original principal
amount of $152,800.00, payable to the order of HOMECOMINGS FINANCIAL NETWORK INC..

5. Concurrently with the execution of the Note. RODNEY ALLEN, AN UNMARRIED MAN,
executed a Deed of Trust granting Movant a lien on certain real property (“Property”) to secure payment of the Note.
The Deed of Trust grants Movant a lien on the Property described as follows:

LOT 3, BLOCK 2, WOODLAND PARK ESTATES, FIRST FILING, AN ADDITION TO THE CITY OF
ARLINGTON, TARRANT COUNTY, TEXAS, ACCORDING TO THE PLAT RECORDED IN VOLUME 388-
50, PAGE 1, PLAT RECORDS, TARRANT COUNTY, TEXAS.

Also known as:

1844 SOUTHPARK DR

ARLINGTON, TX 76013
The Deed of Trust and subsequent Assignment was duly recorded in TARRANT County Deed Records.
All documents evidencing the subject loan are attached hereto and incorporated by reference as Exhibit “A’’.

6. Debtor alleges to be the current owner of record of the Property.

7. Ocwen Loan Servicing, LLC services the underlying mortgage loan and note for the property
referenced in this Motion for: DEUTSCHE BANK TRUST COMPANY AMERICAS, AS TRUSTEE FOR
RESIDENTIAL ACCREDIT LOANS, INC., MORTGAGE ASSET-BACKED PASS-THROUGH
CERTIFICATES, SERIES 2006-QS7 (hereinafter, “noteholder’’) and is entitled to proceed accordingly. Should
the Automatic Stay be lifted and/or set aside by Order of this Court or if this case is dismissed or if the Debtor

obtains a discharge and a foreclosure action is commenced or recommenced, said foreclosure action will be

conducted in the name of DEUTSCHE BANK TRUST COMPANY AMERICAS, AS TRUSTEE FOR
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RESIDENTIAL ACCREDIT LOANS, INC., MORTGAGE ASSET-BACKED PASS-THROUGH
CERTIFICATES, SERIES 2006-QS7. Noteholder has the right to foreclose because Noteholder is the original
mortgagee or beneficiary or assignee of the security instrument for the referenced loan. Noteholder directly or
through an agent has possession of the promissory note and the promissory note is either made payable to
Noteholder or has been duly endorsed.

8. Debtor is in default on the obligation to Movant because Debtor has failed to make installment
payments when due and owing pursuant to the terms of the above-described Note.

9. As of January 23, 2018, the status of the indebtedness is as follows:

a) Debtor is due for November 2017 post-petition and subsequent monthly installments, less
suspense balance in the amount of $869.83. November 1, 2017 through January 1, 2018 payments
are $1,324.02. The unpaid principal balance due and owing to Movant on the Note is $162,931.02.
b) Additional fees have been incurred, including Movant's attorney fees and costs in an amount not
to exceed that set by local rule, practice or order. |

Ill. RELIEF FROM THE STAY

10. Movant requests that the Court terminate the automatic stay pursuant to the provisions of the
Bankruptcy Code to allow Movant to exercise all of its rights and remedies against the Debtor under state law,
including, inter alia, foreclosing its lien on the Property.

11. Cause exists to lift the stay. Movant's interest in its collateral is not adequately protected. 11 U.S.C.
§ 362(d)(1).

12. It has been necessary for Movant to hire the law firm of Codilis & Stawiarski, P.C. to collect the debt
owed to it through this Court. Pursuant to the Note and Deed of Trust, Movant is entitled to reimbursement of its
reasonable attorneys’ fees for their services.

13. If the Court grants his Motion, Movant requests an order providing that the order be effective
immediately upon entry and the 14 day stay of action provided Fed.R. Bankr. Proc. 4001 (a) (3) shall not apply

herein.
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14. Movant requests that upon termination of stay, it be exempt from further compliance with FRBP
3002.1. and Local Bankruptcy Rule 3002.2.

15. If the Court grants this Motion Movant further requests that an Order granting relief from the
automatic stay, will remain in full force and effect if this bankruptcy case is converted to a different Chapter in the
United States Bankruptcy Court.

WHEREFORE, PREMISES CONSIDERED, Movant respectfully requests that this Court enter an
Order granting relief from the automatic stay to allow Movant to exercise and enforce all its rights and remedies
against the Debtor as a secured creditor and perfected lienholder to the Property; including, but not limited to,
payment of bankruptcy attorney fees and costs, foreclosure and disposition of the Property, payment of costs,
expenses, and reasonable attorneys’ fees in accordance with the terms of the Note and Deed of Trust, and for such
other relief to which Movant may show itself justly entitled, either at law or in equity.

Respectfully submitted,
Codilis & Stawiarski, P.C.

By: /s/ Harriet L. Langston
Harriet L. Langston SBOT 11924400

Sarah 8. Cox SBOT 24043439

Annarose Harding SBOT 24071438

Lisa L. Cockrell SBOT 24036379

Nicole M. Bartee SBOT 24001674

400 N. Sam Houston Parkway East, Suite 900-A
Houston, Texas 77060

Telephone: (281) 925-5200

Facsimile: (281) 925-5300

ATTORNEYS FOR MOVANT
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Motion for Relief from Automatic Stay, was
served on February 20, 2018 to the following parties at the addresses indicated by deposit in the United States Mail,
first class postage prepaid, and/or by electronic notice on February 16, 2018.

RODNEY ALLEN

1844 SOUTHPARK DRIVE
ARLINGTON, TX 76013
DEBTOR

JOYCE W. LINDAUER

12720 HILLCREST ROAD, STE 625
DALLAS, TX 75230

ATTORNEY FOR DEBTOR

TIM TRUMAN

6851 N.E. LOOP 820, SUITE 300
N. RICHLAND HILLS, TX 76180
CHAPTER 13 TRUSTEE

ENTITY WITH INTEREST IN PROPERTY:

OCWEN LOAN SERVICING
P.O. BOX 6440
CAROL STREAM, IL 60197

TARRANT APPRAISAL DISTRICT
2500 HANDLEY-EDERVILLE ROAD
FORT WORTH, TX 76118

UNITED STATES TRUSTEE
1100 COMMERCE STREET, ROOM 976
DALLAS, TX 75242-1496

PARTIES REQUESTING NOTICE:

OCWEN LOAN SERVICING, LLC

1661 WORTHINGTON ROAD SUITE 100
WEST PALM BEACH, FL 33409
MOVANT

TARRANT COUNTY

C/O MELISSA L. PALO

2777 N. STEMMONS FREEWAY, SUITE 1000
DALLAS, TX 75207

ARLINGTON ISD

C/O EBONEY COBB
P.O. BOX 13430
ARLINGTON, TX 76094
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OCWEN LOAN SERVICING, LLC.

C/O STEPHEN WU

MACKIE WOLF ZIENTZ & MANN, P.C.
PARKWAY OFFICE CENTER, SUITE 900
14160 NORTH DALLAS PARKWAY
DALLAS, TX 75254

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Codilis & Stawiarski, P.C.

/s/ Harriet L. Langston
Harriet L. Langston SBOT 11924400

Sarah 8. Cox SBOT 24043439
Annarose Harding SBOT 24071438
Lisa L. Cockrell SBOT 24036379
Nicole M. Bartee SBOT 24001674
ATTORNEYS FOR MOVANT

44-18-0143
XXXXX1651
ALLEN , RODNEY
Conventional
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
IN RE: § CASE NO. 14-44099-mxm13
RODNEY ALLEN §
DEBTOR § CHAPTER 13
§
§ A HEARING ON THIS MOTION
DEUTSCHE BANK TRUST COMPANY § HAS BEEN SET FOR:
AMERICAS, AS TRUSTEE FOR RESIDENTIAL §
ACCREDIT LOANS, INC., MORTGAGE ASSET- § MARCH 8, 2018
BACKED PASS-THROUGH CERTIFICATES, § 9:30 AM
SERIES 2006-QS7, ITS SUCCESSORS AND §
ASSIGNS §
MOVANT §
VS. §
RODNEY ALLEN, DEBTOR AND TIM TRUMAN, §
TRUSTEE §
§
RESPONDENTS §

CERTIFICATE OF CONFERENCE ON
MOTION FOR RELIEF FROM AUTOMATIC STAY

COMES NOW Codilis & Stawiarski, P.C., Attorney for Movant, and affirms that the office of Debtor's
Counsel, JOYCE W. LINDAUER, was contacted. On February 14, 2018, counsel for Movant herein spoke with
Dian, a legal assistant with the office of Joyce W. Lindauer advising that the Debtor had fallen behind on post-petition
mortgage installments to Movant and that a Motion for Relief from Stay was scheduled to be filed. She advised that
the Motion was opposed. Codilis & Stawiarski, P.C. made a good faith effort to negotiate a settlement of the dispute
with Debtor's Counsel.

Respectfully submitted,

Codilis & Stawiarski, P.C.

By:/s/ Harriet L. Langston
Harriet L. Langston SBOT 11924400
400 N. Sam Houston Parkway East, Suite 900-A
Houston, Texas 77060 (281) 925-5200
Facsimile: (281) 925-5300
ATTORNEYS FOR MOVANT

44-18-0143

XXXXX1651

ALLEN , RODNEY
Conventional
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EXHIBIT “A” NOTE
MAY 24TH, 2006 ARLINGTON TEXAS
[Date] [City] [State]

1844 SOUTHPARK DRIVE, ARLINGTON, TX 76013
[Property Address]

1. BORROWER’S PROMISE TO PAY
In return for a loan that I have received, I promise to pay U.S. $ 152,800.00 (this amount is called "Principal"),
plus interest, to the order of the Lender. The Lender is © HOMECOMINGS FINANCIAL NETWORK INC.

I will make all payments under this Note in the form of cash, check or money order.
I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is
entitled to receive payments under this Note is called the “Note Holder."

2. INTEREST

Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest at a yearly
rate of 6.5000 %.

The interest rate required by this Section 2 is the rate | will pay both before and after any default described in Section 6(B)
of this Note.

3. PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

T will make my monthly payment onthe FIRST day of each month beginning on JULY 1ST, 2006 . Twill
make these payments every month until I have paid all of the principal and interest and any other charges described below that I
may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest
before Principal. If, on JUNE 1ST, 2036 , I still owe amounts under this Note, I will pay those amounts in full on
that date, which is called the "Maturity Date."

I will make my monthly payments at 14850 QUORUM DRIVE, SUITE 500, DALLAS, TX 75254

or at a different place if required by the Note Holder.

(B) Amount of Monthly Payments
My monthly payment will be in the amount of U.S. $ 965.80

4. BORROWER’S RIGHT TO PREPAY

I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
“Prepayment.” When 1 make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not designate a
payment as a Prepayment if I have not made all the monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my
Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the
Principal amount of the Note. If I make a partial Prepayment, there will be no changes in the due date or in the amount of my
monthly payment unless the Note Holder agrees in writing to those changes.

MULTISTATE FIXED RATE NOTE-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Amended for Texas

D> -BN(TX) 10011) Form 3200 1/01

® VMP MORTGAGE FORMS - (800)}521-7291
Page 1 of 3 Initrals- x A

 
   
     
 

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§. LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other
loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such loan charge
shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from
me which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal I owe under this Note or by making a direct payment to me. If a refund reduces Principal, the reduction will be treated
as a partial Prepayment.

6. BORROWER’S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days
after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge willbe 5.00 % of
my overdue payment of principal and interest. I will pay this late charge promptly but only once on each late payment.

(B) Default
If I do not pay the full amount of each monthly payment on the date it is due, I will be in defauit.

(C) Notice of Default

If Iam in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount by a
certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all
the interest that I owe on that amount. That date must be at least 30 days after the date on which the notice is mailed to me or
delivered by other means.

(D) No Waiver By Note Holder
Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if I am in default at a later time.

(E) Payment of Note Holder’s Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to
be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those
expenses include, for example, reasonable attorneys’ fees.

7, GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give the Note
Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first
class mail to the Note Holder at the address stated in Section 3(A) above or at a different address if | am given a notice of that
different address.

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is
also obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety
or endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights
under this Note against each person individually or against all of us together. This means that any one of us may be required to
pay all of the amounts owed under this Note.

9. WAIVERS

I and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

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>, -5N(TX) (0011) Page 2 of 3 Initials:
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10. UNIFORM SECURED NOTE
This Note is a uniform instrument with limited variations in some jurisdictions, In addition to the protections given to the
Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"), dated the same date as
this Note, protects the Note Holder from possible losses which might result if I do not keep the promises which I make in this
Note. That Security Instrument describes how and under what conditions I may be required to make immediate payment in full
of all amounts I owe under this Note. Some of those conditions are described as follows:
If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

THIS WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND
MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL
AGREEMENTS OF THE PARTIES.

THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED

 

 

 

 

 

 

 

(Seal) (Seal)
RODNEY AL -Borrower -Borrower
(Seal) (Seal)
-Borrower - RATION > -Borrower
Without Recourse
Pay to the Order of ek
(Seal) Greg Sul (Seal)
“Borrower Assistant Secretary -Borrower
Homecomings Financial Network, ine,
A Delaware Corporation
(Seal) (Seal)
-Borrower -Borrower
PAY TS THE ORDER OF
Deutsche Bank Trust Compan Americas as Trustee : ‘of
WITHOUT RECOURSE ESign Original Onty]

Residential Funding Corporation

BY Kalen.

Jt i Faber Vice Presi: +

Redacted
>. -5N(TX) 10011) Page 3 of 3 Form 3200 1/01
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Redacted
Loan

ALLONGE TO NOTE

This endorsement is a permanent part of the Note, in the amount of $152,800.00

NOTE DATE: MAY 24™, 2006

BORROWER NAME: RODNEY ALLEN

PROPERTY: 1844 SOUTHPARK DRIVE,
ARLINGTON, TX 76013

PAY TO THE ORDER OF:

Deutsche Bank Trust Company Americas, as Trustee for Residential Accredit Loans, Inc.,
Mortgage Asset-Backed Pass-Through Certificates, Series 2006-QS7

WITHOUT RECOURSE

DEUTSCHE BANK TRUST COMPANY AMERICAS, AS TRUSTEE BY ITS ATTORNEY IN FACT
OCWEN LOAN SERVICING, LLC

Z_ ff

 

Signor: Shavene Sharpe
Title: Authorized Signer
Case 14-44099-mxm13 Doc 114 Filed 02/16/18 Entered 02/16/18 18:22:48 Page 12 of 35

ALAMO T}
GF

  
   

 

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Return To: HOMECOMINGS FINANCIAL NETWORK, INC.
One Meridian Crossing, Ste. 100
Minneapolis MN 55423
Loan Number:

Redacted

 

Prepared By: HOMECOMINGS FINANCIAL NETWORK, INC.
' 14850 Quorum Drive, Suite 500
Dallas, TX 75254

 

 

[Space Above This Line For Recording Data]

DEED OF TRUST

MIN
Redacted

 

 

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in
Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are
also provided in Section 16,

(A) "Security Instrument" means this document, which is dated MAY 24TH, 2006

together with all Riders to this document.

(B) "Borrower" is

RODNEY ALLEN, AN UNMARRIED MAN

Borrower is the grantor under this Security Instrument.
(C) "Lender" is HOMECOMINGS FINANCIAL NETWORK INC.

TEXAS-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT WITH MERS Form 3044 1/01

QD-6A(TX) 10508)
®

Page 1 of 16 initals: : ” Redacted
VMP Mortgage Solutions, Inc. (800)521-7291

 

 

 

 
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Lender isa CORPORATION
organized and existing under the laws of DELAWARE
Lender’s address is 14850 QUORUM DRIVE, SUITE 500
DALLAS, TX 75254
Lender includes any holder of the Note who is entitled to receive payments under the Note.
(D) "Trustee" is Atty. Don W. Ledbetter
. Trustee’s address is
17130 Dallas Parkway, #115, Dallas , TX 75248

(E) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is
acting solely as a nominee for Lender and Lender’s successors and assigns. MERS is a beneficiary under
this Security Instrument. MERS is organized and existing under the laws of Delaware, and has an
address and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel,

(F) "Note" means the promissory note signed by Borrower and dated MAY 24TH, 2006
The Note states that Borrower owes Lender ONE HUNDRED FIFTY TWO THOUSAND EIGHT
HUNDRED AND NO/100 Dollars
(U.S.$ 152,800.00 ) plus interest. Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt in full not later than JUNE 1ST, 2036 .

(G) "Property" means the property that is described below under the heading “Transfer of Rights in the
Property.”

(H) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
due under the Note, and all sums due under this Security Instrument, plus interest.

(D "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower [check box as applicable]:

 

 

 

Redacted

 

L_] Adjustable Rate Rider [_] Condominium Rider (__] Second Home Rider
Balloon Rider [_] Planned Unit Development Rider [1-4 Family Rider
VA Rider [J Biweekly Payment Rider | Other(s) [specify]

(J) “Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
non-appealable judicial opinions.

(K) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization.

(L) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by
check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit
or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
transfers.

(M) "Escrow Items" means those items that are described in Section 3.

(N) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the
Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the

value and/or condition of the Property.
iniuals: f A

GED-6A(TX) (0506) Page 2 of 16 Form 3044 1/01

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(O) “Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on,
the Loan.

(P) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(Q) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter. As used
in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard
to a “federally related mortgage loan" even if the Loan does not qualify as a “federally related mortgage
loan" under RESPA.

(R) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or
not that party has assumed Borrower’s obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender’s
successors and assigns) and the successors and assigns of MERS. This Security Instrument
secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications
of the Note; and (ii) the performance of Borrower’s covenants and agreements under this
Security Instrument and the Note, For this purpose, Borrower irrevocably grants and conveys to
Trustee, in trust, with power of sale, the following described property located in the
COUNTY of TARRANT :

[Type of Recording Jurisdiction] {Name of Recording Jurisdiction}
Legal description attached hereto and made a part hereof

Parcel ID Number: 03622932 which currently has the address of
1844 SOUTHPARK DRIVE , [Street]
ARLINGTON {City], Texas 76013 [Zip Code]

("Property Address"):
TOGETHER WITH all the improvements now or hereafter erected on the property, and ail

easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this

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Security Instrument as the “Property.” Borrower understands and agrees that MERS holds only legal title
to the interests granted by Borrower in this Security Instrument, but, if necessary to comply with law or
custom, MERS (as nominee for Lender and Lender’s successors and assigns) has the right: to exercise any
or all of those interests, including, but not limited to, the right to foreclose and sell the Property; and to
take any action required of Lender including, but not limited to, releasing and canceling this Security
Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
the right to grant and convey the Property and that the Property is unencumbered, except for encumbrances
of record. Borrower warrants and will defend generally the title to the Property against all claims and
demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1, Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.
currency. However, if any check or other instrument received by Lender as payment under the Note or this
Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments
due under the Note and this Security Instrument be made in one or more of the following forms, as
selected by Lender: (a) cash; (6) money order; (c) certified check, bank check, treasurer’s check or
cashier’s check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring
the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
such funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
principal balance under the Note immediately prior to foreclosure. No offset or claim which Borrower
might have now or in the future against Lender shall relieve Borrower from making payments due under
the Note and this Security Instrument or performing the covenants and agreements secured by this Security
Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment in the order in which it became due. Any remaining amounts
shall be applied first to late charges, second to any other amounts due under this Security Instrument, and
then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received
from Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be
paid in full. To the extent that any excess exists after the payment is applied to the full payment of one or
more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall
be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

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3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the "Funds”) to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as a
lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
Items." At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives
Borrower’s obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower’s
obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be
in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
Borrower’s obligation to make such payments and to provide receipts shall for all purposes be deemed to
be a covenant and agreement contained in this Security Instrument, as the phrase “covenant and agreement”
is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9
and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in
such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the
Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

4, Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

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Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
by, or defends against enforcement of the lien in, legal proceedings which in Lender’s opinion operate to
prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lien to this Security Instrument. If Lender determines that any part of the Property is subject to a lien
which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the
lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
reporting service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
the Property insured against loss by fire, hazards included within the term "extended coverage,” and any
other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender’s
Tight to disapprove Borrower’s choice, which right shall not be exercised unreasonably. Lender may
require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone
determination, certification and tracking services; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification. Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection with the
review of any flood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender’s option and Borrower’s expense. Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
not protect Borrower, Borrower’s equity in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section § shall
become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest
at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s
right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender’s security is not lessened. During such repair and restoration period, Lender shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender’s satisfaction, provided that such inspection shall be undertaken
promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as the work is completed. Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any

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interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If
the restoration or repair is not economically feasible or Lender’s security would be lessened, the insurance
proceeds shali be applied to the sums secured by this Security Instrument, whether or not then due, with
the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
period will begin when the notice is given. In either event, or if Lender acquires the Property under
Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower’s rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
(b) any other of Borrower’s rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or
to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower’s principal
residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
Property as Borrower’s principal residence for at least one year after the date of occupancy, unless Lender
otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrower’s control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes, Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower’s obligation for the completion of
such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower’s
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
(or failed to provide Lender with material information) in connection with the Loan. Material
representations include, but are not limited to, representations concerning Borrower’s occupancy of the
Property as Borrower’s principal residence.

9. Protection of Lender’s Interest in the Property and Rights Under this Security Instrument. If
(a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
is a legal proceeding that might significantly affect Lender’s interest in the Property and/or rights under
this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender’s interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
the Property. Lender’s actions can include, but are not limited to: (a) paying any sums secured by a lien
which has priority over this Security Instrument, (b) appearing in court; and (c) paying reasonable

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attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including
its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned
on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is not
under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any or all
actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
payment,

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless
Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain
coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not
available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be
required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer require loss
reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
Insurance as a condition of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender’s
requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower’s obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage
Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
these agreements. These agreements may require the mortgage insurer to make payments using any source
of funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a portion of Borrower’s payments for Mortgage Insurance, in
exchange for sharing or modifying the mortgage insurer’s risk, or reducing losses. If such agreement
provides that an affiliate of Lender takes a share of the insurer’s risk in exchange for a share of the
premiums paid to the insurer, the arrangement is often termed “captive reinsurance." Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

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(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
may include the right to receive certain disclosures, to request and obtain cancellation of the
Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation or
termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender’s security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
until Lender has had an opportunity to inspect such Property to ensure the work has been completed to
Lender’s satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
repairs and restoration in a single disbursement or in a series of progress payments as the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender’s security would
be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
greater than the amount of the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is less than the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,
Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized
to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
sums secured by this Security Instrument, whether or not then due. "Opposing Party" means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in
regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender’s judgment, could result in forfeiture of the Property or other material impairment of Lender’s
interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be
dismissed with a ruling that, in Lender’s judgment, precludes forfeiture of the Property or other material
impairment of Lender’s interest in the Property or rights under this Security Instrument. The proceeds of
any award or claim for damages that are attributable to the impairment of Lender’s interest in the Property
are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be

applied in the order provided for in Section 2.
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12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower
or any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against
any Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify
amortization of the sums secured by this Security Instrument by reason of any demand made by the original
Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without limitation, Lender’s acceptance of payments from third persons, entities or
Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
and agrees that Borrower’s obligations and liability shall be joint and several. However, any Borrower who
co-signs this Security Instrument but does not execute the Note (a “co-signer"): (a) is co-signing this
Security Instrument only to mortgage, grant and convey the co-signer’s interest in the Property under the
terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security Instrument or the Note without the
co-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
Borrower’s obligations under this Security Instrument in writing, and is approved by Lender, shall obtain
all of Borrower’s rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower’s obligations and liability under this Security Instrument unless Lender agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower’s default, for the purpose of protecting Lender’s interest in the Property and rights under this
Security Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees.
In regard to any other fees, the absence of express authority in this Security Instrument to charge a specific
fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge
fees that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the
reduction will be treated as a partial prepayment without any prepayment charge (whether or not a
prepayment charge is provided for under the Note). Borrower’s acceptance of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
have been given to Borrower when mailed by first class mail or when actually delivered to Borrower’s
notice address if sent by other means. Notice to any one Borrower shail constitute notice to all Borrowers
unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower’s change of address. If Lender specifies a procedure for reporting Borrower’s
change of address, then Borrower shall only report a change of address through that specified procedure.
There may be only one designated notice address under this Security Instrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender’s address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have been given to Lender until actually

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received by Lender. If any notice required by this Security Instrument is also required under Applicable
Law, the Applicable Law requirement will satisfy the corresponding requirement under this Security
Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security Instrument are subject to any requirements and limitations of
Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
might be silent, but such silence shail not be construed as a prohibition against agreement by contract. In
the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
take any action.

17. Borrower’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
“Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shail
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.

19. Borrower’s Right to Reinstate After Acceleration. If Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
this Security Instrument; (b) such other period as Applicable Law might specify for the termination of
Borrower’s right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those
conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not limited
to, reasonable attorneys’ fees, property inspection and valuation fees, and other fees incurred for the
purpose of protecting Lender’s interest in the Property and rights under this Security Instrument; and (d)
takes such action as Lender may reasonably require to assure that Lender’s interest in the Property and
rights under this Security Instrument, and Borrower’s obligation to pay the sums secured by this Security
Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and
expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c)
certified check, bank check, treasurer’s check or cashier’s check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby
shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall not
apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in
the Note (together with this Security Instrument) can be sold one or more times without prior notice to
Borrower. A sale might result in a change in the entity (known as the “Loan Servicer") that collects
Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan

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servicing obligations under the Note, this Security Instrument, and Applicable Law. There also might be
one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan
Servicer, Borrower will be given written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and any other information RESPA
requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party’s actions pursuant to this
Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by
reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
other party hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time period which must elapse before certain action can be taken, that time
period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
(b) "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that
relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response
action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
Condition" means a condition that can cause, contribute to, or otherwise trigger an Environmental
Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding
two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
by any governmental or regulatory authority, or any private party, that any removal or other remediation
of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
Lender for an Environmental Cleanup.

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice te Borrower prior to acceleration following
Borrower’s breach of any covenant or agreement in this Security Instrument (but not prior to
acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a)
the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the date
the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
default on or before the date specified in the notice will result in acceleration of the sums secured by
this Security Instrument and sale of the Property. The notice shall further inform Borrower of the
right to reinstate after acceleration and the right to bring a court action to assert the non-existence of
a default or any other defense of Borrower to acceleration and sale. If the default is not cured on or
before the date specified in the notice, Lender at its option may require immediate payment in full of
all sums secured by this Security Instrument without further demand and may invoke the power of
sale and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all
expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
reasonable attorneys’ fees and costs of title evidence. For the purposes of this Section 22, the term
"Lender" includes any holder of the Note who is entitled to receive payments under the Note.

If Lender invokes the power of sale, Lender or Trustee shall give notice of the time, place and
terms of sale by posting and filing the notice at least 21 days prior to sale as provided by Applicable
Law. Lender shall mail a copy of the notice to Borrower in the manner prescribed by Applicable
Law. Sale shall be made at public venue. The sale must begin at the time stated in the notice of sale
or not later than three hours after that time and between the hours of 10 a.m. and 4 p.m. on the first
Tuesday of the month. Borrower authorizes Trustee to sell the property to the highest bidder for cash
in one or more parcels and in any order Trustee determines. Lender or its designee may purchase the
Property at any sale.

Trustee shall deliver to the purchaser Trustee’s deed conveying indefeasible title to the Property
with covenants of general warranty from Borrower. Borrower covenants and agrees to defend
generally the purchaser’s title to the Property against all claims and demands. The recitals in the
Trustee’s deed shall be prima facie evidence of the truth of the statements made therein. Trustee shall
apply the proceeds of the sale in the following order: (a) to all expenses of the sale, including, but not
limited to, reasonable Trustee’s and attorneys’ fees; (b) to all sums secured by this Security
Instrument; and (c) any excess to the person or persons legally entitled to it.

If the Property is sold pursuant to this Section 22, Borrower or any person holding possession of
the Property through Borrower shall immediately surrender possession of the Property to the
purchaser at that sale. If possession is not surrendered, Borrower or such person shail be a tenant at
sufferance and may be removed by writ of possession or other court proceeding.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall provide a
release of this Security Instrument to Borrower or Borrower’s designated agent in accordance with
Applicable Law. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for
releasing this Security Instrument, but only if the fee is paid to a third party for services rendered and the
charging of the fee is permitted under Applicable Law.

24. Substitute Trustee; Trustee Liability. All rights, remedies and duties of Trustee under this
Security Instrument may be exercised or performed by one or more trustees acting alone or together.
Lender, at its option and with or without cause, may from time to time, by power of attomey or otherwise,
remove or substitute any trustee, add one or more trustees, or appoint a successor trustee to any Trustee
without the necessity of any formality other than a designation by Lender in writing. Without any further
act or conveyance of the Property the substitute, additional or successor trustee shall become vested with
the title, rights, remedies, powers and duties conferred upon Trustee herein and by Applicable Law.

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Trustee shall not be liable if acting upon any notice, request, consent, demand, statement or other
document believed by Trustee to be correct. Trustee shall not be liable for any act or omission unless such
act or omission is willful.

25. Subrogation. Any of the proceeds of the Note used to take up outstanding liens against all or any
part of the Property have been advanced by Lender at Borrower’s request and upon Borrower's
representation that such amounts are due and are secured by valid liens against the Property. Lender shall
be subrogated to any and all rights, superior titles, liens and equities owned or claimed by any owner or
holder of any outstanding liens and debts, regardless of whether said liens or debts are acquired by Lender
by assignment or are released by the holder thereof upon payment.

26. Partial Invalidity. In the event any portion of the sums intended to be secured by this Security
Instrument cannot be lawfully secured hereby, payments in reduction of such sums shall be applied first to
those portions not secured hereby.

27, Purchase Money; Owelty of Partition; Renewal and Extension of Liens Against Homestead
Property; Acknowledgment of Cash Advanced Against Non-Homestead Property. Check box as
applicable:

Purchase Money.

The funds advanced to Borrower under the Note were used to pay all or part of the purchase price of
the Property. The Note also is primarily secured by the vendor’s lien retained in the deed of even date with
this Security Instrument conveying the Property to Borrower, which vendor’s lien has been assigned to
Lender, this Security Instrument being additional security for such vendor’s lien.

LJ Owelty of Partition.

The Note represents funds advanced by Lender at the special instance and request of Borrower for the
purpose of acquiring the entire fee simple title to the Property and the existence of an owelty of partition
imposed against the entirety of the Property by a court order or by a written agreement of the parties to the
partition to secure the payment of the Note is expressly acknowledged, confessed and granted.

(—] Renewal and Extension of Liens Against Homestead Property.

The Note is in renewal and extension, but not in extinguishment, of the indebtedness described on the
attached Renewal and Extension Exhibit which is incorporated by reference. Lender is expressly
subrogated to all rights, liens and remedies securing the original holder of a note evidencing Borrower's
indebtedness and the original liens securing the indebtedness are renewed and extended to the date of
maturity of the Note in renewal and extension of the indebtedness.

CJ Acknowledgment of Cash Advanced Against Non-Homestead Property.

The Note represents funds advanced to Borrower on this day at Borrower’s request and Borrower
acknowledges receipt of such funds. Borrower states that Borrower does not now and does not intend ever
to reside on, use in any manner, or claim the Property secured by this Security Instrument as a business or
residential homestead. Borrower disclaims all homestead rights, interests and exemptions related to the
Property.

28. Loan Not a Home Equity Loan. The Loan evidenced by the Note is not an extension of credit
as defined by Section 50(a)(6) or Section 50(a)(7), Article XVI, of the Texas Constitution. If the
Property is used as Borrower’s residence, then Borrower agrees that Borrower will receive no cash
from the Loan evidenced by the Note and that any advances not necessary to purchase the Property,
extinguish an owelty lien, complete construction, or renew and extend a prior lien against the

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Property, will be used to reduce the balance evidenced by the Note or such Loan will be modified to
evidence the correct Loan balance, at Lender’s option. Borrower agrees to execute any
documentation necessary to comply with this Section 28.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.

 

 

 

 

 

 

 

 

 

 

Witnesses:
Wel . files Mr (Seal)
‘kz } ~Borrower

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WANES

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-Borrower
(Seal) (Seal)
-Borrower -Borrower
(Seal) (Seal)
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-Borrower -Borrower
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STATE OF TEXAS

County of TAN ALTE
Before me M\FL00\) end

RODNEY ALLEN, AN UNMARRIE

known to me (or proved to me on the oath of

orthrough DYUVEAS LE CENWSE.-
consideration therein expressed.
Given under my hand and seal of office this

(Seal)

 

  

 

 

Qo 4th day of

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on this day personally appeared

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to be the person whose name is subscribed to the
foregoing instrument and acknowledged to me thaf/he

e/they executed the same for the purposes and

MAY

Thay

2006.

 

MELODY DIXON ” Lo y
Notary Public Notary Public
STATE OF TEXAS
My Comm. Exp. 03/03/2010
My Commission Expires:
Initials: KA
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GF No.

LEGAL DESCRIPTION

Lot 3, Block 2, Woodland Park Estates, First Filing, an Addition to the City of Arlington, Tarrant
County, Texas, according to the plat recorded in Volume 388-50, Page 1, Plat Records, Tarrant
County, Texas.
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eRX Transaction Document Receipt Page Page | of 1

Document Receipt Information

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Reference Number: 4018574 - Deed Of Trust

Instrument Number: [D206 165203 |

Number of Pages: —_|/17, |

[Recorded Date: 6/2/2006 12:40:38 PM

lCounty: Tarrant ;

iRecording Fees: 80 | D ate ao
\Transfer Tax Amount: fo Aece } de “tT LD EEL IAL IO“)
Mortgage Tax Fee: 0

Tax Certification Fee: |0

 

 

 

 

 

 

THIS DOCUMENT HAS BEEN ELECTRONICALLY FILED
OF RECORD AT THE COUNTY CLERK’S OFFICE
INDICATED ABOVE.

THE ABOVE RECORDING RECEIPT CONTAINS THE RECORDING DATA
PROVIDED BY THE COUNTY CLERK IN WHICH THIS DOCUMENT HAS
BEEN FILED

http://www.erxchange.com/erx/viewReceipt.asp? DOCUMENT _ID=624454 6/8/2006
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‘Gg:

Requested and Prepared by:
Executive Trustee Services, LLC

When Recorded Mail To:

Executive Trustee Services, LLC
2255 North Ontario Street, Suite 400
Burbank, California 91504-3120

 
 

 

 
 

: Redacted
TS NO: .
ASSIGNMENT OF DEED OF TRUST

For Value Received, the undersigned corporation hereby grants, assigns, and transfers to:
Deutsche Bank Trust Company Americas as Trustee for RALI 2006QS7

all beneficial interest under that certain Deed of Trust dated: 5/24/2006 executed by RODNEY
ALLEN AN UNMARRIED MAN, as Trustor(s), to ATTY. DON W. LEDBETTER, as Trustee, and
recorded as Instrument No. 0206165203, on 6/2/2006, in Book XX, Page XX of Official Records, in
the office of the County Recorder of Tarrant County, Texas together with the Promissory Note
secured by said Deed of Trust and also ail rights accrued or to accrue under said Deed of Trust.

DATE: 6/17/2010 MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.,

  

 

State of California } SS.
County of Los Angeles }

On 6/17/2010 before me, Jessica Jenkins Notary Public, personally appeared Donna Fitton, Limited
Signing Officer who proved to me on the basis of satisfactory evidence to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed
the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument
the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

| certify under penalty of perjury under the laws of the State of California that the foregoing paragraph is
true and correct.

WITNESS my hand and official seal.

  

Signature
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TS NO: me

EXHIBIT "A"

 

LOT 3, BLOCK 2, WOODLAND PARK ESTATES, FIRST FILING, AN ADDITION TO THE CITY OF
ARLINGTON, TARRANT COUNTY, TEXAS, ACCORDING TO THE PLAT RECORDED IN VOLUME
388-50, PAGE 1, PLAT RECORDS, TARRANT COUNTY, TEXAS.
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re)

as

SUZANNE HENDERSON

 

COUNTY CLERK
100 West Weatherford Fort Worth, TX 76196-0401

 

 

PHONE (817) 884-1195

EXECUTIVE TRUSTTE SERVICES

2255 NORTH ONTARIO ST STE 400
BURBANK, CA 91504

Submitter’ LRT RECORD SERVICES

DO NOT DESTROY
WARNING - THIS IS PART OF THE OFFICIAL RECORD.

 

Filed For Registration: 7/9/2010 2:49 PM
Instrument #: 0210165552
U 3 PGS $20.00

By: Ba h<g a Wien Leewe_/

 

0210165552

ANY PROVISION WHICH RESTRICTS THE SALE, RENTAL OR USE OF THE DESCRIBED REAL PROPERTY
BECAUSE OF COLOR OR RACE IS INVALID AND UNENFORCEABLE UNDER FEDERAL LAW.

Prepared by: CAMADDOCK
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Ocwen Loan Servicing, LLC We are here to help you!
WWW.OCWENCUSTOMERS.COM ; Cali toli-free: (800) ms
Helping Homeowners is What We Dol ™ Mon-Fri 8:00am - 9:00pm, Sat 8:00am - 5:00pm

 

OCWEN Sun 9:60am - 9:00pm ET

Ocwen Loan Servicing, LLC (“Ocwen") is offering you this Laan Modification Agreement (“Agreement”), dated 11/23/2015, which

 

LOAN MODIFICATION AGREEMENT

 

Redacted

 

modifies the terms of your home loan obligations as described in detail below:

A.

B,

the Mortgage, Deed of Trust, or Security Deed {the “Mortgage”}, dated and recorded in the public records of
Tarrant County, and

the Note, of the same date and secured by the Mortgage, which covers the real and personal property described in the
Mortgage and defined therein as the “Property”, located at 1844 Southpark Or, Arlington, TX 76013-4211.

Pursuant to our mutual agreement to modify your Note and Mortgage and in consideration of the promises, conditions, and terms
set forth below, the parties agree as follows:

1.

3.

4,

7.

&

You agree that the new principal balance due under your modified Note and the Mortgage will be $166,587.23. Upon
modification, your Nore will become contractually current.

1 4
You promise to make'an initial payment in the amount of $1,324.02 on or before 1/1/2016, after which you will commence
payments of principal and interest in the amount of $ 620.61 beginning on 2/1/2016 and continuing on the same day of
each succeeding month until all amounts owed under the Note and Modification are paid in fuil.

You will be required to pay to Ocwen, until such time the loan is paid in full, a sum to provide for payment of amounts due for (i)
yearly taxes and assessments which may attain priority over the Security Instrument as a lien on the Property, and (Ii) yearly hazard
oF property insurance premiums, all in accordance with the terms and conditions of the Security Instrument. A waiver of this
requirement by Ocwen as of the Effective Date shall not constitute a waiver of such requirement at any future date, and Ocwen
specifically reserves the right, in its sole and absolute discretion, to impose such requirement at any time upon written notice to
you.

Upon Modification, the annual rate of interest charged on the unpaid principal balance of your joan will be 3.25000% . This rate will
remain in effect until the maturity date of your loan.

You promise te make payments of principal and interest on the same day of each succeeding month until 6/1/2036, at
which time a final balioon payment in an amount equal to all remaining amounts under the Note and Modification will be due.

You will comply with ali other covenants, agreements and requirements of your Mortgage, including without limitation, the
covenants and agreements to make all payments of taxes, insurance premiums, assessments, escrow items, impounds and ail
other payments that you are obligated to make under the Mortgage, except as otherwise provided herein.

If you sell your property, refinance or otherwise payoff your loan during the 12 months following the date of Modification, the
Modification will be voidable at the sole option of Ocwen and all amounts owed under the obligations existing prior to the
Modification will be due and owing.

You understand and agree that:

{a) All the rights and remedies, stipulations and conditions contained in your Mortgage relating to default in the making of
payments under the Mortgage will also apply to default in the making of the modified payments here under.

Redacted

 

SBALLSTIP1_v2.1
is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.

However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. {t is not intended as an
attempt to collect a debt from you personally.

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Ocwen Loan Servicing, LLC We are here to help you!
WWW.OCWENCUSTOMERS.COM ea son eee (800) 746-2936 ;
Helping Homeowners is What We Dol ™ Mon-Fri 8:00am - 9:00pm, Sat 8:00am - 5:00pm
OGWEN Sun 9:00am - 9:00pm ET

 

(b) All covenants, agreements, stipulations and conditions in your Note and Mortgage will remain in full force and effect,

except as herein modified, and none of the your obligations or Habilities under your Note and Mortgage will be
diminished or released by any provisions hereof, nor will this Agreement in any way impair, diminish or affect any of
Ocwen’s rights under or remedies on your Note and Mortgage, whether such rights or remedies arise there under or by
Operation of law. Also, all rights of recourse to which Ocwen is presently entitled against any property or any other

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persons in any way obligated for, or liable on, your Note and Mortgage are expressly reserved by Ocwen.

 

Redacted

 

(c}) Any expenses incurred in connection with the servicing of your loan, but not yet charged to your account as of the date of

this Agreement, may be charged to your account after the date of this Agreement.

(d) Nothing in this Agreement will be understood or construed to be a satisfaction or release in whole or in part of your

Note and Mortgage.

(e) You agree to make and execute such other documents or papers as may be necessary or required to effectuate the terms

(fl

and conditions of this Agreement which, if approved and accepted by Ocwen, will bind and inure to your heirs, executors,
administrators apd assigns. ' |

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You understand that this agreement is legaily binding and that it affects your rights. You confirm that you have had the
Opportunity to obtain independent legal counsel concerning this Agreement and are signing this Agreement voluntarily and
with full understanding of its contents and meaning.

{g) Corrections and Omissions: You agree to execute such other and further documents as may be reasonably necessary to

consummate the transactions contemplated herein or to perfect the liens and security interests intended to secure the
payment of the loan evidenced by the Note.

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Ocwen Loan Servicing, LLC Rodney Allen

Felicia Perry OCT 13 2M6

By:

 

 

Authorized Officer

 

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SBALLSTIPL v2.1

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Cali toll-free: (800} 746-2936
WWW.OCWENCUSTOMERS.COM ;
Helping Hi rs is What We Dot ™ Mon-Fri 8:00am - $:00pm, Sat 8:00am - 5:00pm
OCWEN Sun 9:00am - 9:00pm ET
11/23/2015
Loan Number:
Rodney Alten
1844 Southpark Dr
Arlington, TX 76013-4211
Property Address:
1844 Southpark Dr
Arlington, TX 76013-4211

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BALLOON DISCLOSURE

The loan modification for which you have applied contains a batioon provision. This means that even if you make all payments full
and an time, the loan will not be paid in full by the final payment date. Your estimated balloon payment amount fs $107,786.41
and will be due in a single payment on 6/1/2036, provided that all payments are made in accordance with the joan terms and the
interest rate dees not change for the entire loan term. The balloon payment may vary depending on your payment history, and, if
you have an adjustable rate mortgage, any interest rate changes that occur during the life of the loan.

Neither Ocwen Loan Servicing, LLC nor any lender to which your loan is transferred or assigned is under any obligation to finance the
amount of the balloon payment. In addition, the value of the real estate securing this loan may change during the term of the fcan.
On the date the balloon payment becomes due, the value of the real estate may not be sufficient to secure a new foan in an amount
equal to the balloon payment.

(Awe have read the above disclosure and acknowledge receiving a copy by signing below.

Ocwen Loan Servicing, LL Rodney Allen

Felicia Perry OCT 13 2016
Authorized Officer

 

 

Redacted

 

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